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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                      PURSUANT TO Fed. R. Civ. P. 12(B)(6)


       DAVID J. LORENZO,                            Hon. Claire C. Cecchi, U.S.D.J.
                       Plaintiff                    Hon. José R. Almonte, U.S.M.J.
       vs.

       THE BOROUGH OF PALISADES                     Civ. No.: 2:23-CV-21849-CCC-JRA
       PARK, NEW JERSEY; CHONG                                     A Civil Action
       PAUL KIM (individually and in his
       official capacity as Mayor of the
       Borough of Palisades Park, New
       Jersey); and SUK “JOHN” MIN
       (Individually and in his official
       capacity as a member of the Borough
       Council of Palisades Park, New Jersey)
                              Defendants.



                                                SEMERARO & FAHRNEY, LLC
                                                R. Scott Fahrney, Esq. │SBN # 017182008
                                                155 Route 46, Suite 108
                                                Wayne, New Jersey 07470
                                                TEL. (973) 988-5070
                                                Email sfahrney@semerarolaw.com
                                                Attorneys for Defendants
      R. Scott Fahrney, Esq.
      Mark J. Semeraro, Esq.
      On the brief
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                                       PRELIMINARY STATEMENT

             Defendants, The Borough of Palisades Park (the “Borough”), Chong Paul Kim, (Mayor

      Kim”); and Suk “John” Min (“Councilman Min”)(hereinafter referred to collectively as the

      “Moving Defendants”) hereby move to dismiss with prejudice the Plaintiff’s Complaint ( a person

      currently employed by the Borough of Palisades Park as it Business Administrator, who is

      currently on paid leave) for failure to state a claim.

              Despite painting a colorful tale of political retribution worthy of a screenplay, the Plaintiff

      cannot escape the fact that his pleadings fall woefully short of adequately alleging any cognizable

      claim, as it fails to sufficiently plead necessary facts to support the elements to any of the claims

      asserted. Furthermore, and a glaring fact that is an inescapable death knell to his complaint, is the

      ultimate fact that his position as Business administrator is regulated by N.J.S.A. 40A: 9-136 et.

      seq., a patronage position to which our Courts have long held carries no recognized constitutional

      right of continued employment.

             In fact, our Courts have long held that even if such a position was lost, (which is not the

      situation plead in the matter at bar), for one’s expression of political speech, due the nature of the

      position itself, such actors would be immune from liability for the same. For the reasons set forth

      below, the Plaintiff’s Complaint must be dismissed as a matter of law.

                                          STATEMENT OF FACTS

         1. Plaintiff, David Lorenzo, (hereinafter referred to as “Plaintiff”) is the Borough

             Administrator of the Borough of Palisades Park, New Jersey (the “Borough”) and is alleged

             to be the president of the Palisades Park Democratic Club. Pl. Compl. ¶1.




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         2. Defendant, the Borough of Palisades Park, New Jersey (the “Borough”) a body corporate

            and politic within the State of New Jersey with its principal place of business at 275 Broad

            Ave, Palisades Park, New Jersey. Pl. Compl. ¶2.

         3. Defendant, Chong Paul Kim (“Mayor Kim”), currently serves as the Mayor of the Borough.

            Pl. Compl.¶3.

         4. Defendant, Suk “John” Min (“Councilman Min”), currently serves as a member of the

            Borough Council for the Borough. Pl. Compl.¶4.

         5. Plaintiff has been employed by the Borough prior to 2007 and has held the position of

            Borough Administrator since 2008. Pl. Compl. ¶8.

         6. The powers and duties of the Borough Administrator is governed by N.J.S.A. 40A:9-136.

         7. The term of office of Borough Administrator is governed by N.J.S.A. 40A:9-137.

         8. The removal/termination of the Borough Administrator is governed by N.J.S.A. 40A:9-

            138.

         9. Plaintiff alleges that political fighting within the Palisades Park Democratic Club led to

            him instructing unidentifiable persons to place duct tape over unidentified campaign signs

            of Defendant, Councilman Min’s during the 2023 General Election. Pl. Compl. ¶9-14.

         10. Plaintiff alleges in conclusionary fashion, and without any supportive or corroborative facts

            whatsoever, that he was suspended from his position as Borough Administrator by the

            Borough solely in retaliation for placing duct tape over Councilman Min’s signs during the

            2023 General Election. Pl. Compl. ¶9-14.

         11. Plaintiff further alleges that the suspension was pretextually based upon false or pretextual

            allegation of his misconduct and the need for an investigation into the same, again in

            conclusionary fashion and without any factual support for the same. Pl. Compl. ¶9-14.



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           12. Public records show that Plaintiff caused to be filed in the Bergen County Superior Court,

                under Docket No.: BER-L-6632-23, a Verified Complaint and Order to Show Cause, to

                invalidate the actions of the November 2, 2023 Special Meeting that resulted in the very

                suspension, that the instant complaint is based upon. See Attached as Exhibit 1 to the

                Certification of Counsel, a true and complete copy of the Plaintiff’s Verified Complaint

                filed in the Bergen County Superior Court.1

           13. Public records further show that in response, the Borough submitted a brief and

                certification in opposition to the Verified Complaint, which outlines all corrective action

                permitted under the New Jersey Open Public Meetings Act and was taken in order to

                ensure, that the employment action taken was procedurally consistent with the law. See

                Attached as Exhibit 2 to the Certification of Counsel, a true and complete copy of the

                Defendant’s Opposition to the Order to Show Cause.

                                        The November 2, 2023 Special Meeting

           14. Public Records show that on October 31, 2023, the Borough Clerk sent the Notice of the

                Special Meeting to the Bergen Record and the New Jersey Star-Ledger. Fahrney Cert,

                Exhibit 2.

           15. Public Records show that on October 31, 2023, notice of the November 2, 2023 Special

                Meeting was also posted on the Borough’s bulletin board at Borough Hall as per the




       1
        Under Fed. R. Civ. P. 12, a party may present matters outside of the pleadings along with a motion to dismiss, if the
       “plaintiff's claims are based on the document.” Pension Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192,
       1196 (3d Cir. 1993). In this matter, the Plaintiff’s two complaints are intertwined, and provide clarity as to the
       background of the matter at bar, and therefore must be considered. Furthermore, they are “undisputedly authentic” as
       set forth in Pension Ben. Guar. Corp., supra, 998 F.2d 1196, as they are Court Documents submitted under the penalty
       of perjury. Moreover, the Court shall consider exhibits attached to defendant's motion to dismiss to extent that they
       were part of public record from plaintiff's prior court proceedings. Clark v. BASF Salaried Employees' Pension
       Plan, 329 F. Supp. 2d 694 (W.D.N.C. 2004), aff'd as modified sub nom. Clark v. BASF Corp., 142 Fed. Appx. 659
       (4th Cir. 2005). [Emphasis added.]

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             requirements of the N.J.S.A §10:4-8 as well as on the Borough’s website under Notices.

             See Fahrney Cert, Exhibit 2.

          16. Public Records show that on November 2, 2023, Defendant, Borough of Palisades Park,

             held a special council meeting at 1:00 PM at which time it passed Resolution 2023-224 and

             placed the Plaintiff on administrative leave with full pay and benefits. Pl. Compl. ¶15.

          17. Public Records show that on November 2, 2023, the Borough of Palisades Park placed the

             Plaintiff on administrative leave with full pay and benefits under Resolution 2023-224. See

             Fahrney Cert, Exhibit 2.

                         The Corrective Action pursuant to N.J.S.A. 10:4-15(a)

          18. Public Records show that on December 26, 2023, The Borough Council of Palisades Park,

             by and through the Municipal Clerk, called for a Special Meeting of the Borough Council

             to be conducted on December 31, 2023. See Fahrney Cert, Exhibit 2.

          19. Public Records show that on December 26, 2023, at approximately 1:19 PM, the Borough

             Clerk sent the Notice of the Special Meeting to be held 4:00 PM on December 31, 2023, to

             the Bergen Record and New Jersey Star Ledger. See Fahrney Cert, Exhibit 2.

          20. Public Records show that on December 26, 2023, Notice of the December 31, 2023 Special

             Meeting was also posted on the Borough’s bulletin board at Borough Hall as per the

             requirements of the N.J.S.A. §10:4-8 as well as on the Borough’s website under Notices.

             See Fahrney Cert, Exhibit 2.

          21. Public Records show that on December 26, 2023, Plaintiff was provided with a Rice

             Notice via email, regular mail, and hand delivered courier, with the hand delivery being

             served upon the Plaintiff on December 27, 2023, at 8:38 am. See Fahrney Cert, Exhibit 2.




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          22. Public Records show that on December 29, 2023, the Notice of the December 31, 2023

               Special Meeting was published in the Bergen Record and Star Ledger in accordance with

               the OPMA. See Fahrney Cert, Exhibit 2.

          23. Public Records show that on December 31, 2023, the Mayor and Council for the Borough

               of Palisades Park held a Special Meeting that fully complied with the OPMA. See Fahrney

               Cert, Exhibit 2.

          24. Public Records show that on December 31, 2023, the Mayor and Council, conducted no

               discussion on the personnel action in executive session, but discussed other matters, and

               thereafter in open session voted on Resolution 2023-261 without discussion, passed by a

               vote of 4-3 with Mayor Kim breaking the tie. See Fahrney Cert, Exhibit 2.

          25. Public Records show that Resolution 2023-261 placed Plaintiff on administrative leave

               with pay, including all emoluments, effective November 2, 2023, pending the conclusion

               of the Borough’s internal investigation. See Fahrney Cert, Exhibit 2.

          26. Plaintiff has not been terminated. Pl. Compl. ¶19.

          27. Public Records show that Plaintiff has suffered no harm as he has been placed on

               administrative leave, with pay and all benefits. See Fahrney Cert, Exhibit 2.

                                            LEGAL ARGUMENT

          I.      STANDARD OF REVIEW ON MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6)
                  FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

               In order to avoid dismissal under Fed. R. Civ. P. 12(b)(6), a plaintiff’s complaint must

       plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

       Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). It must “‘give the

       defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Id. at 555

       (quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957), abrogated by Bell


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       Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). The factual

       allegations must sufficiently “raise a right to relief above the speculative level.” Id. at 555.

              The plaintiff cannot simply assert labels and conclusions, offer a formulaic recitation of

       the elements of a cause of action, or make naked assertions devoid of further factual enhancement.

       Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (citing Bell

       Atlantic Corp., supra, 550 U.S. 557). Fed. R. Civ. P. 8(a)(2) requires that a claim for relief contain

       “a short and plain statement of the claim showing that the pleader is entitled to relief.” While that

       pleading standard “does not require ‘detailed factual allegations,’ . . . it demands more than an

       unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft, supra, 556 U.S. 678

       (citing Bell Atlantic Corp., supra, 550 U.S. 555).

              Following Twombly’s direction, the Third Circuit has acknowledged that situations may

       arise where “the factual detail in a complaint is so undeveloped that it does not provide a defendant

       the type of notice of claim which is contemplated by Fed. R. Civ. P. 8.” Phillips v. Cnty. of

       Allegheny, 515 F.3d 224, 232 (3d Cir. 2008). The Court of Appeals further stated that in light of

       the Supreme Court’s ruling in Bell Atlantic Corp., supra, 550 U.S. 544, “Fed. R. Civ. P. 8(a)(2)

       requires a ‘showing’ rather than a blanket assertion of an entitlement to relief,” and “without some

       factual allegation in the complaint, a claimant cannot satisfy the requirement that he or she provide

       not only ‘fair notice,’ but also the ‘grounds’ on which the claim rests.” Id. Thus, “Fed. R. Civ. P.

       8 . . . does not unlock the doors of discovery for a plaintiff armed with nothing more than

       conclusions.” Ashcroft, supra, 556 U.S. 79. “‘A claim has facial plausibility when the plaintiff

       pleads factual content that allows the court to draw the reasonable inference that the defendant is

       liable for the misconduct alleged.’” Lopez v. Beard, 333 Fed. Appx. 685, 687 (3d Cir. 2009)

       (quoting Ashcroft, supra, 556 U.S. 678).



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                To that end, a complaint must set forth sufficiently detailed, credible factual allegations

       which “raise a right to relief above the speculative level.” Bell Atlantic Corp., supra, 550 U.S. 555.

       “‘Where a complaint pleads facts that are merely consistent with a defendant’s liability, it stops

       short of the line between possibility and plausibility of entitlement to relief.’” Ashcroft, supra, 556

       U.S. 678. “If the ‘well-pleaded facts do not permit the court to infer more than the mere possibility

       of misconduct,’ the complaint should be dismissed for failing to ‘show that the pleader is entitled

       to relief’ as required by Fed. R. Civ. P. 8(a)(2).” Ashcroft, supra, 556 U.S. 679. “Determining

       whether the allegations in a complaint are ‘plausible’ is a context-specific task that requires the

       reviewing court to draw on its judicial experience and common sense.’” Ashcroft, supra, 556 U.S.

       678–79.

                Finally, in reviewing the sufficiency of a complaint in the context of a motion to dismiss,

       courts must not accept bald assertions, untenable inferences, or unsupported legal conclusions

       disguised as factual allegations. Bell Atlantic Corp., supra, 550 U.S. 555 (“[A] plaintiff's obligation

       to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

       and a formulaic recitation of the elements of a cause of action will not do . . . [O]n a motion to

       dismiss, courts ‘are not bound to accept as true a legal conclusion couched as a factual

       allegation.’”) (citations omitted).


          II.      COUNT I (RETALIATION)    MUST BE DISMISSED AS THE PLAINTIFF CANNOT
                   DEMONSTRATE THAT HE WAS DEPRIVED A PERSON OF RIGHTS, PRIVILEGES, OR
                   IMMUNITIES SECURED BY THE CONSTITUTION OR LAWS OF THE UNITED STATES.

                To establish a First Amendment retaliation claim, the Plaintiff must prove three elements:

       (1) constitutionally protected conduct, (2) retaliatory action sufficient to deter a person of ordinary

       firmness from exercising his constitutional rights, and (3) a causal link between the constitutionally

       protected conduct and the retaliatory action. Thomas v. Indep. Twp., 463 F.3d 285, 296 (3d Cir.


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       2006), quoted in Koren v. Noonan, 586 Fed. Appx. 885, 887–88 (3d Cir. 2014); Green v.

       Philadelphia Hous. Auth., 105 F.3d 882, 885 (3d Cir. 1997), as amended (Mar. 13, 1997). Fail to

       plead any of the elements set forth above, and the Court must dismiss the complaint as a matter of

       law. Ibid.

          a. Plaintiff has not engaged in any protected speech.

              Our Supreme Court has held that a public employee engages in constitutionally protected

       conduct when he (1) speaks (or associates) as a citizen; (2) the statement (or association) involved

       a matter of public concern; and (3) the government employer did not have “an adequate

       justification for treating the employee differently from any other member of the general public”

       based on its needs as an employer. Baloga v. Pittston Area Sch. Dist., 927 F.3d 742, 753 (3d Cir.

       2019). None of these activities are alleged here.

              As the complaint is written, it is clear that the only protected activity that the Plaintiff

       alleges to have engaged in, is instructing some unidentified 3rd parties to duct tape over

       Councilman Min’s name on some political campaign signs at some unspecified time. This is not

       speech on his part, it is actually speech by those performing the task.

              While denying that the action taken with regard to the Plaintiff’s employment was in

       anyway related to his asserted speech, even accepting as truth for the limited purposes of

       evaluating this motion, it is undeniable that the complaint is factually deficient as it failed to plead

       sufficient facts to establish that directing unidentified persons to duct tape unidentified campaign

       signs was a protected act of public concern, or a protected speech. There is no case law that

       supports this supposition. Even if the Court considers directing other people to act to be an exercise

       of First Amendment Speech, which it should not, there is no assertion that the Borough, the Mayor

       or Councilman Min were aware that the Plaintiff had directed the duct-taping of the signs.



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              Since the plaintiff has failed to provide the who, what, where, and when necessary to

       evaluate the nature of the purported speech activity, the complaint is insufficiently pled and must

       be dismissed as a matter of law pursuant to Fed. R. Civ. P. 8.

              Moreover, the Plaintiff’s allegation of free speech further lacks support because if this

       alleged activity took place while Mr. Lorenzo was supposed to be working in his capacity as

       business administrator for the Borough of Palisades Park, the activity would not be constitutionally

       protected either. See Waters v. Churchill, 511 U.S. 661, 668, 114 S. Ct. 1878, 1884, 128 L. Ed.

       2d 686 (1994), quoting Connick v. Myers, 461 U.S. 138, 142, 103 S. Ct. 1684, 75 L. Ed. 2d 708

       (1983) and Pickering v. Bd. of Ed. of Twp. High Sch. Dist. 205, Will Cnty., Illinois, 391 U.S. 563,

       568, 88 S. Ct. 1731, 20 L. Ed. 2d 811 (1968). The complaint is unacceptably void and ambiguous

       and absence of the facts necessary to evaluate this first element.

              Notwithstanding the foregoing, even if the court felt that this first element was sufficiently

       pled, for the reasons set forth more fully below, it is beyond any reasonable debate that the facts

       necessary to sustain a prima facie case for retaliatory conduct have not been sufficiently pled.

       Thus, the complaint must be dismissed.

          b. Plaintiff failed to plead that Defendants took any adverse action against him in direct
             retaliation for exercising his rights.

              The second element of a First Amendment Retaliation claim is that the defendant took

       retaliatory action against the plaintiff or threatened action sufficient to deter a person of ordinary

       firmness from exercising his or her rights. Thomas, supra, 463 F.3d 296, quoted in Koren, supra,

       586 Fed. Appx. 887–88; Green, supra, 105 F.3d 885. Plaintiff also fails to adequately plead this

       element of a retaliation claim against Defendants.

              First, the Plaintiff must show that there was a retaliatory action stemming from his

       protected conduct or threat, coercion, or intimidation, intimating that punishment, sanction, or


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       adverse regulatory action will follow his politically protected speech. Thomas, supra, 463 F.3d

       296, quoted in Koren, supra, 586 Fed. Appx. 887–88; Green, supra, 105 F.3d 885. Since Plaintiff

       alleged that his placement on administrative leave was the only possible retaliation, we can ignore

       the future threat of retaliation element.

                Temporarily ignoring the glaring defect, that plaintiff has not alleged any basis for his

       conclusion that the suspension was in retaliation for his directing that the signs be defaced, he has

       not even sufficiently alleged that the alleged protected speech preceded the commencement of the

       alleged retaliation. It is clear from the facts of public record set forth above, the suspension in

       question was put into motion days before it took place2, by virtue of the Rice notice issued to

       Plaintiff and the notice scheduling a special meeting to discuss inter alia, Plaintiff’s employment

       a few days before any action took place. Plaintiff’s only statement regarding his acts is that they

       occurred “some time before November 2, 2023.”

                Critically, the adverse employment action by Defendants cannot be a retaliatory because

       Plaintiff fails to plausibly show that the Plaintiff’s conduct prompted the retaliation. Thomas,

       supra, 463 F.3d 296, quoted in Koren, supra, 586 Fed. Appx. 887–88; Green, supra, 105 F.3d 885.

                 Plaintiff simply sets forth his opinion that he was suspended because of his political

       speech. In fact, the Plaintiff does not directly correlate the “political activity” of instructing others

       to duct-tape signs with his placement on administrative leave. The Plaintiff sets no timeline to

       properly show that his actions preceded the Borough taking steps to place him on administrative

       leave. Simply put, how can the adverse action be a deterrent of any conduct if the adverse action


       2
        The facts are clear. On October 31, 2023, the Borough Clerk sent the Notice of the Special Meeting and on October
       31, 2023, notice of the November 2, 2023 Special Meeting was also posted on the Borough’s bulletin board at Borough
       Hall as per the requirements of the N.J.S.A §10:4-8 as well as on the Borough’s website under Notices. See Fahrney
       Cert, Exhibit 2. That same day, the Plaintiff received a Rice Notice, notifying him that action would be taken regarding
       his position as Borough Administrator. See Fahrney Cert, Exhibit 2. Thus, in order to establish a claim, the Plaintiff’s
       alleged speech must have occurred before October 31, 2023.


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       preceded the conduct. The Plaintiff’s claims are vague, unsupported, and lack the necessary

       foundation under Ashcroft and Twombly. Therefore, the Plaintiff’s vague assertions that he

       engaged in First Amendment Speech and was placed on administrative leave are insufficient.

              As set forth in the standards for a 12(b)(6) motion, the plaintiff cannot simply assert labels

       and conclusions, offer a formulaic recitation of the elements of a cause of action, or make naked

       assertions devoid of further factual enhancement. Ashcroft, supra, 556 U.S. 678 (citing Bell

       Atlantic Corp., supra, 550 U.S. 555, 557). Just as the complaint in Phillips was deficient, here the

       factual detail in Plaintiff’s complaint is so undeveloped that it does not provide a defendant the

       type of notice of claim which is contemplated by Fed. R. Civ. P. 8. The Plaintiff can’t even say

       when he engaged in his political speech, despite the fact that he ordered the signs to be covered –

       this is the quintessential deficient complaint that must be dismissed under Fed. R. Civ. P. 8.

              Furthermore, the Plaintiff cannot claim that he needs discovery, as our Courts have clearly

       held that where a Plaintiff is in possession of the knowledge, and fails to plead that knowledge, he

       “does not unlock the doors of discovery for a plaintiff armed with nothing more than conclusions.”

       Ashcroft, supra, 556 U.S. 678–79.

              As such, the Plaintiff has failed to plead that Defendants took any adverse action against

       him sufficient to deter a person of ordinary firmness from exercising his rights, and the Plaintiff’s

       Complaint must be dismissed as a matter of law for failure to plead a claim upon which relief can

       be granted.

          c. Plaintiff’s Complaint fails to set forth a causal link between the constitutionally
             protected conduct and the retaliatory action.

              The third element of a First Amendment Retaliation claim requires the Plaintiff to plead a

       causal nexus between the protected activity and the retaliation. Rink v. Ne. Educ. Intermediate

       Unit 19, 717 Fed. Appx. 126, 133 (3d Cir. 2017); Lauren W. ex rel. Jean W. v. DeFlaminis, 480

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       F.3d 259, 267 (3d Cir. 2007); McAndrew v. Bucks Cnty. Bd. of Comm'rs, 982 F. Supp. 2d 491,

       505 (E.D. Pa. 2013).

              Even if the Plaintiff’s complaint sufficiently contained facts to support the first two

       elements, which it does not, it still would have to be dismissed as it has woefully fails to plead

       facts establishing that there was a causal connection between the speech and the administrative

       leave beyond mere conjecture.

              As a matter of common sense, in order to show a causal connection between a protected

       activity and alleges retaliatory conduct, the plaintiff must show that the parties allegedly engaging

       in the retaliatory conduct were aware of the alleged protected activities prior to engaging in the

       alleged retaliatory actions, because you cannot engage in retaliatory conduct retroactively.

              In the case at bar, the plaintiff’s complaint fails not only to explain how or upon what the

       plaintiff bases his belief that the activity engaged in by the moving defendants was retaliatory, but

       he also fails to explain and/or allege how the moving defendants were aware of his purported

       instruction to 3rd parties to duct tape over Councilman Min’s name or were even aware that

       Councilman min’s name was duct taped over in the first place, at some point in time prior to the

       alleged retaliatory action. Thus, he cannot establish the required nexus under Rink, Lauren W. ex

       rel. Jean W., supra, 480 F.3d 259, or McAndrew, supra, 982 F. Supp. 2d 505.

              At best, the complaint only makes allegations in a conclusionary fashion and infers these

       facts, by reading that sometime in 2023 Plaintiff directed others to duct tape over Min’s name on

       political signs, and as a result, Plaintiff was placed on administrative leave. Our courts have clearly

       held that conclusionary statements of this nature are insufficient pleadings and warrant dismissal.

       Bell Atlantic Corp., supra, 550 U.S. 544; Ashcroft, supra, 556 U.S. 678.




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                 The fact remains that the Plaintiff’s Complaint lacks the factual support that the Borough’s

       actions followed the Plaintiff’s or vice versa. The Plaintiff has direct knowledge of when these

       events took place, and selectively chose not to plead the crucial facts. Despite the fact that the

       administrative leave occurred after the alleged covering of the signs, it is reasonable to affirm that

       the Borough noticed, and intended to take action long before the Plaintiff’s alleged speech

       occurred. Unless the Plaintiff presents concrete assertions with factual support that he engaged in

       the speech, and then the Borough took action without any legitimate rational basis, only then could

       the Plaintiff’s complaint survive.

                 For the reasons set forth above, the Plaintiff’s Complaint must be dismissed as a matter of

       law for failure to plead a claim upon which relief can be granted.

          III.      THE SECOND COUNT OF PLAINTIFF’S COMPLAINT PLEADS A 42 U.S.C. §1985
                    CONSPIRACY CLAIM AGAINST MAYOR KIM AND COUNCILMAN MUST BE DISMISSED
                    AS A MATTER OF LAW.


                 Plaintiff has alleged in Count II of his Complaint a conspiracy among Defendants Kim and

       Min, to deprive Plaintiff of his First Amendment right to freedom of speech and association, and

       in turn, deprive him of his position as Borough Administrator. For the reasons set forth below, no

       such claim has been properly established.

                 A plaintiff must allege: (1) a conspiracy; (2) motivated by a racial or class based

       discriminatory animus designed to deprive, directly or indirectly, any person or class of persons to

       the equal protection of the laws; (3) an act in furtherance of the conspiracy; and (4) an injury to

       person or property or the deprivation of any right or privilege of a citizen of the United States.

       Lake v. Arnold, 112 F.3d 682, 685 (3d Cir. 1997), as amended (May 15, 1997) (citing United Bhd.

       of Carpenters & Joiners of Am., Local 610, AFL-CIO v. Scott, 463 U.S. 825, 828–29, 103 S. Ct.

       3352, 77 L. Ed. 2d 1049 (1983)). Section 1985(3) actions are limited to conspiracies predicated on


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       “racial, or perhaps otherwise class based, invidiously discriminatory animus.” Lake, supra, 112

       F.3d 685 (quoting Griffin v. Breckenridge, 403 U.S. 88, 102, 91 S. Ct. 1790, 29 L. Ed. 2d 338

       (1971)).

                    a. Plaintiff fails to allege any race-based or class based discriminatory animus.

          To state a conspiracy claim under statute authorizing cause of action for conspiracy to interfere

       with civil rights, a plaintiff must allege (1) some racial or other class-based discriminatory animus

       underlying the defendants' actions, and (2) that the conspiracy was aimed at interfering with the

       plaintiff's protected rights. Porter v. Selsky, 287 F. Supp. 2d 180 (W.D.N.Y. 2003), aff'd sub nom.

       Porter v. Coughlin, 421 F.3d 141 (2d Cir. 2005); Davila v. Secure Pharmacy Plus, 329 F. Supp. 2d

       311 (D. Conn. 2004); Knight v. City of New York, 303 F. Supp. 2d 485 (S.D.N.Y. 2004), aff'd,

       147 Fed. Appx. 221 (2d Cir. 2005); Moire v. Temple Univ. Sch. of Med., 613 F. Supp. 1360 (E.D.

       Pa. 1985), aff'd, 800 F.2d 1136 (3d Cir. 1986).

                  US federal law protects individuals from discrimination or harassment based on the

       following nine protected classes: sex (including sexual orientation and gender identity), race/color,

       age, disability, national origin, religion/creed, or genetic information. See US Civil Rights Act of

       1964, Age Discrimination Act of 1967 and the Americans with Disabilities Act of 1990.

              In Farber v. City of Paterson, 440 F.3d 131 (3d Cir. 2006), the Third Circuit found that the

       victim of a conspiracy motivated by race discrimination may bring a §1985(3) claim, under Griffin,

       supra, 403 U.S. 102, while the victim of mere commercial or economic animus may not. Farber v.

       City of Paterson, 440 F.3d 131, 138 (3d Cir. 2006); United Broth. of Carpenters and Joiners of

       America, Local 610, AFL-CIO, supra, 463 U.S. 838.

              Moreover, there are a myriad of cases that have fully established that political affiliation is

       not a protected class. D'Aurizio v. Palisades Park, 963 F. Supp. 378, 385–86 (D.N.J. 1997), aff'd



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       sub nom. D'Aurizio v. Borough of Palisades Park, 151 F.3d 1024 (3d Cir. 1998), Stephens v.

       Kerrigan, CIV. A. 95-615, 1996 WL 256581 (E.D. Pa. May 15, 1996), aff'd in part, rev'd in part,

       122 F.3d 171 (3d Cir. 1997), 1996 U.S. Dist. LEXIS 6544, at *13 (political affiliation cannot

       support a § 1985(3) claim), aff'd on other grounds, 122 F.3d 171, 184 (3d Cir.1997), and Deblasio

       v. Zoning Bd. of Adjustment for Twp. of W. Amwell, 820 F. Supp. 876, 885 (D.N.J. 1993), aff'd

       in part, rev'd in part, 53 F.3d 592 (3d Cir. 1995).

              Moreover, the Farber court found that allowing § 1985(3) to reach politically motivated

       conspiracies would involve the federal courts in policing the political arena in ways that the

       drafters of § 1985(3) could not have intended. As Judge Pollak long ago explained, political

       patronage “plays a major role in all politics,” and while Elrod and Branti v. Finkel, 445 U.S. 507,

       100 S. Ct. 1287, 63 L. Ed. 2d 574 (1980), place constitutional limits on this role, “it can be

       reasonably assumed that private political actors will continue to press government officials to

       exercise such partisan leeway as the hiring and firing processes still permit, conformably with the

       Court's decisions.” Nilan v. De Meo, 575 F. Supp. 1225, 1227 (E.D. Pa. 1983). Permitting §

       1985(3) to reach politically motivated conspiracies would effectively outlaw all terminations based

       on political affiliation. Farber v. City of Paterson, 440 F.3d 131, 142 (3d Cir. 2006).

              In the matter at bar, the Plaintiff has not sufficiently pled any race based or class based

       (under any of the aforementioned acts) discriminatory animus. The only rational interpretation of

       the Complaint is that Plaintiff bases his entire claim on his affiliation with the Democratic Club of

       Palisades Park. Pl. Compl. ¶1. The complaint is absent of any other class or animus that forms

       the basis for this complaint. Pl. Compl. ¶1-12. This is precisely the type of case that Farber, Elrod,

       Branti, and Nilan prohibit.




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              Thus, as set forth in Farber, supra, 440 F.3d 131 and its progeny, the Plaintiff fails to

       sufficiently allege that a racial or other class-based discriminatory animus underlying the

       defendants' actions, and that the conspiracy was aimed at interfering with the plaintiff's protected

       rights, and as such, the Plaintiff’s complaint must be dismissed as a matter of law.

                  b. Plaintiff fails to plead a prima facie case for conspiracy.

              As set forth above, a prima facie claim for §1985 requires plaintiff to establish that

       Defendants committed an act in furtherance of the conspiracy; and caused an injury to person or

       property or the deprivation of any right or privilege of a citizen of the United States. Lake, supra,

       112 F.3d 685

              As argued below, the Plaintiff cannot establish any injury to him or the deprivation of any

       right or privilege as he did not engage in any protected speech (see Point II); nor is his employment

       as Borough Administrator a constitutionally protected position (see Point IV).

              Even if the Mayor and Min coordinated the special meeting, there is no evidence that even

       one of them retaliated or planned to retaliate against the Plaintiff for his direction of defacing

       political signs, let alone both of them. There is no factual claim that that they even spoke to each

       other about the signs. The plaintiff has provided no facts to support such a claim, only his self-

       interested conclusion.

              Since §1985 claims require that all the elements be sufficiently pled, the Court need not

       even entertain the claim and thereby permit Plaintiff to conduct a fishing expedition in discovery.

       The Plaintiff’s claims for Civil Conspiracy under §1985 in the complaint must be dismissed as a

       matter of law.




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          IV.      EVEN IF PLAINTIFF HAD SUFFICIENTLY PLEAD A §1983, §1985 AND/OR COMMON
                   LAW CONSPIRACY CLAIMS, THE DEFENDANTS ARE ENTITLED TO QUALIFIED
                   IMMUNITY AND THE COMPLAINT MUST BE DISMISSED AS A MATTER OF LAW

                It has long been established that state actors, in this case the Borough and its employees,

       are protected by qualified immunity so long as their allegedly unlawful acts were objectively

       reasonable. Harlow v. Fitzgerald, 457 U.S. 800, 819, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982).

       [Emphasis added.] Qualified immunity is a defense against a claim alleging deprivation of a

       Constitution right by a law enforcement officer. See Pierson v. Ray, 386 U.S. 547, 87 S. Ct. 1213,

       18 L. Ed. 2d 288 (1967). It is “an entitlement not to stand trial or face the other burdens of

       litigation.” Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S. Ct. 2806, 86 L. Ed. 2d 411 (1985).

                Qualified immunity is “an immunity from suit rather than a mere defense to liability.” Id.

       Moreover, qualified immunity, like absolute immunity, “is effectively lost if a case is erroneously

       permitted to go to trial.” Id. The purpose for qualified immunity is to:

                       [permit] courts [to] expeditiously...weed out suits, which fail the test
                       without requiring a defendant who rightly claims qualified
                       immunity to engage in expensive and time-consuming preparation
                       to defend the suit on its merits. One of the purposes of immunity,
                       absolute or qualified, is to spare a defendant not only unwarranted
                       liability, but unwarranted demands customarily imposed upon those
                       defending a long drawn-out lawsuit. Siegert v. Gilley, 500 U.S. 226,
                       232, 111 S. Ct. 1789, 114 L. Ed. 2d 277 (1991).

                Accordingly, the Supreme Court has “repeatedly stressed the importance of resolving

       immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224,

       227, 112 S. Ct. 534, 116 L. Ed. 2d 589 (1991).

                Qualified immunity protects all but the plainly incompetent or those who knowingly violate

       the law. Malley v. Briggs, 475 U.S. 335, 106 S. Ct. 1092, 89 L. Ed. 2d 271 (1986). As such, the

       protection afforded a defendant should be denied only in the most exceptional instances.



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       Lassiter v. Alabama A & M Univ., Bd. of Trustees, 28 F.3d 1146, 1149 (11th Cir. 1994), abrogated

       by Hope v. Pelzer, 536 U.S. 730, 122 S. Ct. 2508, 153 L. Ed. 2d 666 (2002). [Emphasis added].

               If a public official could have reasonably believed that his or her acts were lawful under

       the then-established law and current information, that official would be entitled to qualified

       immunity from liability. Ryan v. Burlington Cnty., N.J., 889 F.2d 1286, 1292 (3d Cir. 1989); see

       also Harlow, supra, 457 U.S. 818; Kirk v. City of Newark, 109 N.J. 173, 184 (1988). When

       considering whether an alleged right is “clearly established,” the Court must bear in mind that

       “defendants are neither constitutional lawyers nor federal judges.” Rappa v. Hollins, 991 F. Supp.

       367, 382 (D. Del. 1997), aff'd, 178 F.3d 1280 (3d Cir. 1999).

               In order to overcome an assertion of qualified immunity raised in a Rule 12(b)(6) motion,

       a complaint “must allege facts showing that the conduct of [the] defendant (1) violated a statutory

       or constitutional right, and (2) that the right was clearly established at the time of the challenged

       conduct." George v. Rehiel, 738 F.3d 562, 572 (3d Cir. 2013).5 Courts have discretion to decide

       which of the two prongs of qualified-immunity analysis to tackle first. Ashcroft v. al-Kidd, 563

       U.S. 731, 735, 131 S. Ct. 2074, 179 L. Ed. 2d 1149 (2011).

                   a. New Jersey Law has well established that Plaintiff’s position is a political
                      patronage position and subject to serve at the pleasure of the Governing
                      Body,

               While the moving defendants adamantly deny that the plaintiff’s suspension had anything

       to do with his alleged political speech, even if it did, they would be immune from liability. In fact,

       as more thoroughly set forth below, they could have even terminated his employment for the same,

       without liability.

               To overcome qualified immunity, a plaintiff must “‘identify a case where an [official]

       acting under similar circumstances [as Defendants] was held to have violated the [First]



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       Amendment.’” D.C. v. Wesby, 583 U.S. 48, 138 S. Ct. 577, 590, 199 L. Ed. 2d 453 (2018) (quoting

       White v. Pauly, 580 U.S. 73, 137 S. Ct. 548, 552, 196 L. Ed. 2d 463 (2017)). After all, “[i]t is only

       when both the theory of liability and its application to the established facts are sufficiently plain

       that the legal question of liability is beyond legitimate debate and a plaintiff can defeat a qualified

       immunity defense.” Sauers v. Borough of Nesquehoning, 905 F.3d 711, 719 (3d Cir. 2018). In

       essence, the Plaintiff must establish by “controlling authority” or “robust consensus of cases of

       persuasive authority” placed “beyond debate” that the conduct by the Defendants violates any

       constitutional right which strips the Defendants of qualified immunity. Ashcroft, supra, 563

       U.S. 741. [Emphasis added.]

                 Fatal to the Plaintiff’s complaint is that courts have repeatedly held that political affiliation

       is a proper consideration in the hiring and firing of government positions where political

       cohesiveness or patronage is necessary. Elrod v. Burns, 427 U.S. 347, 367–68, 96 S. Ct. 2673, 49

       L. Ed. 2d 547 (1976); Branti, supra, 445 U.S. 518; Ness v. Marshall, 660 F.2d 517, 521 (3d Cir.

       1981); Rutan v. Republican Party of Illinois, 497 U.S. 62, 75, 110 S. Ct. 2729, 111 L. Ed. 2d 52

       (1990).

                 “The Supreme Court has decided a trilogy of cases that governs decisions in political

       patronage cases.” Goodman v. Pennsylvania Tpk. Comm'n, 293 F.3d 655, 663 (3d Cir. 2002). In

       Elrod, supra, 427 U.S. 367–68, the plurality held that discharging certain public employees solely

       on the basis of their political affiliation violates their First Amendment right to free association,

       but exempted from this prohibition the politically motivated discharge of persons holding

       “policymaking positions.” Recognizing that “[t]he nature of the responsibilities is critical,” the

       plurality in Elrod, supra, 427 U.S. 347 observed that “[a]n employee with responsibilities that are

       not well defined or are of broad scope more likely functions in a policymaking position,” and that



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       “consideration should also be given to whether the employee acts as an adviser or formulates plans

       for the implementation of broad goals.” Id. at 367–68. “Non-policymaking individuals,” by

       contrast, “usually have only limited responsibility and are therefore not in a position to thwart the

       goals of the in-party.” Id. at 367. [Emphasis added.]

              More specifically, the Third Circuit held that the discharge of a confidential, policy -

       making employee, such as a municipal administrator who serves at the pleasure of the governing

       body, could be terminated for purely political reasons. Elrod, supra, 427 U.S. 347; Dyke v.

       Otlowski, 154 N.J. Super. 377 (Ch. Div. 1977); Cabarle v. Governing Body of Pemberton Twp.,

       167 N.J. Super. 129, 139 (Law. Div. 1979), aff'd sub nom. Cabarle v. Governing Body of Twp. of

       Pemberton, 171 N.J. Super. 586 (App. Div. 1980).

              Four years later, in Branti, supra, 445 U.S. 518, the Court refined the Elrod analysis by

       holding that “the ultimate inquiry is not whether the label ‘policymaker’ or ‘confidential’ fits a

       particular position; rather, the question is whether the hiring authority can demonstrate that party

       affiliation is an appropriate requirement for the effective performance of the public office

       involved.” See also Ness, supra, 660 F.2d 521 (noting that Branti calls for a “functional analysis”

       and finding that “should a difference in party affiliation be highly likely to cause an official to be

       ineffective in carrying out the duties and responsibilities of the office, dismissals for that reason

       would not offend the First Amendment”). And then in Rutan, supra, 497 U.S. 75, the Court

       extended Elrod and Branti by holding that promotions, transfers, recalls, and hiring decisions

       involving public employees may not be based on party affiliation and support unless the

       government can show that party affiliation is a proper requirement for the particular position.

              In Cabarle, supra, 167 N.J. Super. 139, the Court held that the role of administrator is not

       only a political patronage The position of administrator is one of significance and sensitivity, but



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       a conclusion also underlined by the language of Pemberton Township's ordinance creating the

       office. It provides that the administrator is required to have executive and administrative abilities

       with special qualifications in government affairs and is to be the chief administrative officer of the

       township. Cabarle, supra, 167 N.J. Super. 139.

              In Perry v. Sindermann, 408 U.S. 593, 92 S. Ct. 2694, 33 L. Ed. 2d 570 (1972) and Bd. of

       Regents of State Colleges v. Roth, 408 U.S. 564, 92 S. Ct. 2701, 33 L. Ed. 2d 548 (1972), issued

       the same day, the Supreme Court held that in order to have a property interest in a benefit that is

       protected by the Fourteenth Amendment, a plaintiff must show “more than an abstract need or

       desire for it. He must have more than a unilateral expectation of it. He must, instead, have a

       legitimate claim of entitlement to it.” Board of Regents of State Colleges, supra, 408 U.S. 577.

              Moreover, in Reiger, the Third Circuit held that a municipal administrator who serves at

       the pleasure of the governing body pursuant to N.J.S.A. 40A:9–137 is not entitled to

       constitutionally protected rights to his employment and thus would not strip the governing body

       of qualified immunity. Rieger v. Twp. of Fairfield, 121 Fed. Appx. 944, 946 (3d Cir. 2005).

              While the Moving Defendants deny that the suspected reason for placing the Plaintiff on

       administrative leave was politically based, Plaintiff’s free association and retaliation claims should

       be dismissed with prejudice on the basis of qualified immunity because, even if Defendants did

       terminate or suspend or place Plaintiff on administrative leave it was “objectively legally

       reasonable” for them to do so as the position of borough administrator is a patronage position and

       subject to serve at the governing body’s pleasure. See Elrod, supra, 427 U.S. 367–68; Branti, supra,

       445 U.S. 518; Ness, supra, 660 F.2d 521; Rutan, supra, 497 U.S. 75.

              In other words, even if the Plaintiff did engage in political speech, which he did not, the

       Defendants’ conduct was “objectively legally reasonable” as they are permitted to discharge (even



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       though the Plaintiff has not been discharged) the Borough Administrator for any reason

       whatsoever, including political patronage. N.J.S.A. 40A:9–138.

                In short, the Plaintiff cannot, and does not establish any constitutionally protected interest

       in his position as Borough Administrator that would strip the Defendants of the authority and

       power to either terminate or place the Plaintiff on administrative leave under N.J.S.A. 40A:9–137.

                This hurdle is insurmountable because the Third Circuit has repeatedly held that municipal

       administrators can be dismissed on the basis of their political affiliations without offending the

       First Amendment, and every other Circuit Court of Appeals to have faced the question has reached

       the same conclusion. In fact, the alleged decision to dismiss an employee based on political

       patronage is precisely the sort that the doctrine of qualified immunity was designed to protect. See

       Elrod, supra, 427 U.S. 367–68; Branti, supra, 445 U.S. 518; Ness, supra, 660 F.2d 521; Rutan,

       supra, 497 U.S. 75.

                Here, the law is clear. The Borough Administrator is a patronage position and subject to

       serve at the pleasure of the Governing Body. As set forth in N.J.S.A. 40A:9-137 and 40A:9-138,

       it is without question that the Plaintiff has no constitutional right to his position as Borough

       Administrator and that the moving defendants would be immune from all liability associated with

       the Plaintiff’s suspension, even if it were related to his alleged political speech.

           V.      ANY CLAIM AGAINST THE MAYOR, AND COUNCILMAN MIN RELATED TO THE
                   RESOLUTIONS PLACING PLAINTIFF ON ADMINISTRATIVE LEAVE, MUST BE DISMISSED
                   AS A MATTER OF LAW BY VIRTUE OF LEGISLATIVE IMMUNITY .


                It is black letter law that local legislators are immune from suit under §1983 for their

       legislative activities; (2) absolute legislative immunity attaches to all actions of local officials taken

       in sphere of legitimate legislative activity. Bogan v. Scott-Harris, 523 U.S. 44, 118 S. Ct. 966, 140

       L. Ed. 2d 79 (1998). Our United States Supreme Court has never relented from this legal doctrine.


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       See also, Acierno v. Cloutier, 40 F.3d 597, 615 (3d Cir. 1994) [holding that County Council

       members are entitled to absolute legislative immunity]; Aitchison v. Raffiani, 708 F.2d 96, 99–

       100 (3d Cir. 1983) [holding that a mayor and a borough attorney were entitled to legislative

       immunity with respect to their involvement in the passage of an ordinance] and Gallas v. Supreme

       Court of Pennsylvania, 211 F.3d 760, 773–74 (3d Cir. 2000) [holding that officials outside the

       legislative branch are entitled to legislative immunity when they perform legislative functions].

              Even more on point is that the United States Supreme Court unanimously held in Bogan,

       supra, 523 U.S. 44 that legislators are immune for discrimination claims in voting and passing

       resolutions to eliminate certain patronage positions. In Bogan, supra, 523 U.S. 44, the Supreme

       Court held that the legislative acts of Fall Rivers' mayor and city council's vice-president enjoyed

       absolute immunity from liability claims for discrimination leveled under 42 U.S.C.A. §1983 when

       they voted to eliminate certain city jobs. The Court found that legislative immunity “has long been

       recognized in Anglo–American law” and has “a venerable tradition.” Bogan, supra, 523 U.S. 48–

       49. The “acts of voting for an ordinance were, in form, quintessentially legislative,” id., Bogan,

       supra, 523 U.S. 55, as were all “integral steps in the legislative process.” Ibid.

              It is uncontroverted that the passing of an Ordinance or Resolution by the governing body

       is a legislative function. Freedom from Religion Found., Inc. v. Saccone, 894 F. Supp. 2d 573, 583

       (M.D. Pa. 2012) quoting Scicchitano v. Cnty. of Northumberland, 112 F. Supp. 3d 293, 300 (M.D.

       Pa. 2015) (“It is pellucidly clear that resolutions, whether passed by a single house or both, whether

       creating legally binding obligations or not, fall squarely within the scope of absolute legislative

       immunity from suit.”)

              Thus, for the same reasons in Bogan, supra, 523 U.S. 44, the Plaintiff’s complaint must be

       denied as a matter of law, with prejudice, as the actions of the Mayor and Councilman Min are



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       subject to legislative immunity. Both Defendants acted in their capacity as legislative members of

       the Borough, and in doing so passed valid Resolutions to place the Plaintiff on Administrative

       Leave in accordance with N.J.S.A. 10A:4-6 et seq., (the Open Public Meetings Act) and N.J.S.A.

       40A:9-137.

           As such, all Counts against Mayor Kim and Councilman Min, both in their individual and

       official capacity, must be dismissed as a matter of law under the doctrine of legislative immunity.

           VI.      ALL §1983 CLAIMS AGAINST THE BOROUGH OF PALISADES MUST BE DISMISSED AS A
                    MATTER OF LAW.

                 [A] local government may not be sued under §1983 for an injury inflicted solely by its

       employees or agents.” Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 694, 98

       S. Ct. 2018, 56 L. Ed. 2d 611 (1978). Further, for a municipality to be held liable under the theory

       of respondeat superior, the constitutional harm alleged must be caused by a municipal policy or

       custom. Monell, supra, 436 U.S. 658 (1978). “Plaintiffs who seek to impose liability on local

       governments under §1983 must prove that action pursuant to official municipal policy caused their

       injury.” Connick v. Thompson, 563 U.S. 51, 131 S. Ct. 1350, 1359, 179 L. Ed. 2d 417

       (2011)(citations and internal quotations omitted).

                 Failure to allege violation of a specific constitutional right is especially problematic given

       that the purpose of modern pleading is to "give the defendant fair notice of what the plaintiff's

       claim is and the grounds upon which it rests." Conley, supra, 355 U.S. 47. [Emphasis added].

                 Here, for the reasons set forth above, the Plaintiffs fail to show any constitutional violation

       in the first place, never mind that anyone from the Borough engaged in a pattern of practice or

       promulgated customary policy or procedure of discrimination against the Plaintiff’s class [which

       is not articulated].




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              As set forth in Point II and IV, Plaintiff fails to state a claim upon which relief can be

       granted on any theory of §1983 Liability, and therefore, the Plaintiff’s Complaint should be

       dismissed as a matter of law with prejudice.

          VII.    THE THIRD COUNT OF PLAINTIFF’S COMPLAINT (COMMON LAW CONSPIRACY
                  CLAIM) AGAINST MAYOR KIM AND COUNCILMAN MUST BE DISMISSED AS A MATTER
                  OF LAW.


              Plaintiff has alleged in Count III of his Complaint a common law conspiracy among

       Defendants Kim and Min, to deprive Plaintiff of his First Amendment right to freedom of speech

       and association, and in turn, deprive him of his position as Borough Administrator.

              For the same exact reasons set forth in Point III, the plaintiff’s claim for common law

       conspiracy must be dismissed for failure to sufficiently plead facts to support a claim of common

       law conspiracy. Notably, the Plaintiff has not pled a single fact that Defendants committed any

       unlawful act in furtherance of the conspiracy, or that they deprived Plaintiff of any right or

       privilege under the law. Digene Corp. v. Ventana Med. Sys., Inc., 476 F. Supp. 2d 444, 446 (D.

       Del. 2007).

              As argued above, the Plaintiff cannot establish any unlawful act (see Point III); nor is his

       employment as Borough Administrator a constitutionally protected position (see Point IV). Thus,

       the plaintiffs claim for common law conspiracy must be dismissed and the moving defendants

       hereby incorporate those portions of the brief by reference herein.




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                                                CONCLUSION

              For the foregoing reasons, the Court should grant the Defendants’ Motion to Dismiss the

       Plaintiff’s Complaint for failure to state a claim upon which relief can be granted pursuant to

       Fed. R. Civ. P. 12(b)(6) and dismiss the Complaint with prejudice as a matter of law.


                                                     Respectfully Submitted,



                                                     R. Scott Fahrney, Esq.
       Dated: January 16, 2024




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